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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  LEO M. CURLEY, JR. and                                  :
  CATHERINE M. CURLEY                                     :
             Plaintiffs,                                  :
       v.                                                 :         C.A. No.:
                                                          :
  RICHARD T. ZUERNER, M.D.,                               :
  UROLOGY ASSOCIATES, INC.,                               :
  AARON W. WAY, D.O.,                                     :
  OSTEOPATHIC FAMILY MEDICINE, LLC,                       :
  JOHN/JANE DOE, M.D., Alias                              :
  JOHN DOE CORPORATION, Alias and                         :
             Defendants.                                  :


                                         COMPLAINT

                                 PARTIES AND JURISDICTION

         1.      Leo M. Curley, Jr. is a citizen of Port Charlotte, Florida.

         2.      Catherine M. Curley is a citizen of Port Charlotte, Florida.

         3.      Catherine M. Curley is the wife of Leo M. Curley, Jr.

           4.      Defendant Richard T. Zuerner, M.D. upon information and belief is a citizen
  and resident of the State of Rhode Island. At all times mentioned herein, said defendant was
  engaged in the practice of medicine in the State of Rhode Island and held himself out to be a
  specialist in the field of urology.

          5.      Defendant Urology Associates, Inc. is a business organization existing under
  the laws of the State of Rhode Island with a principal place of business therein. At all
  relevant times, defendant Urology Associates, Inc. was engaged in the provision of medical
  care services. At all relevant times, defendant Richard T. Zuerner, M.D. was an employee,
  agent, and/or servant of Urology Associates, Inc.

          6.     Defendant Aaron W. Way, D.O. upon information and belief is a citizen and
  resident of the State of Rhode Island. At all times mentioned herein, said defendant was
  engaged in the practice of medicine in the State of Rhode Island and held himself out to be
  an osteopathic physician.

          7.      Defendant Osteopathic Family Medicine, LLC is a business organization
  existing under the laws of the State of Rhode Island with a principal place of business
  therein. At all relevant times, defendant Osteopathic Family Medicine, LLC was engaged in
  the provision of medical care services. At all relevant times, defendant Aaron W. Way, M.D.
  was an employee, agent, and/or servant of Osteopathic Family Medicine, LLC.
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           8.      Defendants John/Jane Doe, M.D., Alias, upon information and belief were
  citizens and residents of the State of Rhode Island. The true names of defendants are
  unknown to plaintiffs who consequently sue such defendants by said fictitious names.
  Plaintiffs will seek leave to amend their complaint to state the true names of defendant
  John/Jane Doe, M.D., Alias, when such have been ascertained.

           9.     Defendant John Doe Corporation, Alias upon information and belief is a
  business organization existing under the laws of the State of Rhode Island with a principal
  place of business therein. The true name of the defendant corporation is unknown to
  plaintiffs who consequently sue such defendant by said fictitious name. Plaintiffs will seek
  leave to amend their complaint to state defendant John Doe Corporation, Alias’s true name
  when such has been ascertained.

          10.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, in
  that there is diversity of citizenship among the parties, and the amount in controversy
  exceeds $75,000, exclusive of interests and costs.

                                          COUNT I
                                        NEGLIGENCE
                                  RICHARD T. ZUERNER, M.D.

            1.    Plaintiffs hereby incorporate Paragraphs 1 through 10 as if fully set forth
  herein.

        2.     On or about June 12, 2007 and thereafter, defendant Richard T. Zuerner,
  M.D. undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

          3.       It then and there became and was the duty of defendant Richard T. Zuerner,
  M.D. to exercise that degree of diligence and skill required of the average physician engaged
  in the practice of urology.

          4.     Nevertheless, defendant Richard T. Zuerner, M.D. disregarded his duty as
  aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
  diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
  was otherwise negligent in his diagnosis, treatment, and care of him.

           5.      As a direct and proximate result of defendant Richard T. Zuerner, M.D.’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          6.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.



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         7.      By reason of the foregoing, Catherine M. Curley has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Richard T. Zuerner, M.D. in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.

                                            COUNT II
                                LACK OF INFORMED CONSENT
                                RICHARD T. ZUERNER, M.D.

         1.      Plaintiffs hereby incorporate Count I as if fully set forth herein.

           2.     It then and there became the duty of defendant Richard T. Zuerner, M.D.,
  no emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment
  and care he proposed to administer to and perform upon him so that he could give his
  informed consent to such treatment. It also then and there became the duty of defendant
  Richard T. Zuerner, M.D. to obtain Mr. Curley’s informed consent before proceeding with
  said treatment and care.

          3.      Nevertheless, defendant Richard T. Zuerner, M.D. disregarded his duty as
  aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
  care in question and proceeded to perform said treatment and care without having obtained
  Mr. Curley’s informed consent.

           4.     If defendant Richard T. Zuerner, M.D. had informed Mr. Curley of the risks
  of harm attendant to the treatment and care in question, including, but not limited to, the
  risk that he might suffer those injuries from which he suffered as a direct performance of
  said treatment and care, Mr. Curley would have refused to consent to the performance of the
  treatment and care therein involved.

           5.      As a direct and proximate result of defendant Richard T. Zuerner, M.D’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          6.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         7.      By reason of the foregoing, Catherine M. Curley has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.



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           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Richard T. Zuerner, M.D. in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.

                                       COUNT III
                                      NEGLIGENCE
                                 UROLOGY ASSOCIATES, INC.

         1.      On or about June 12, 2007 and thereafter defendant Urology Associates, Inc.
  undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

           2.     It then and there became and was the duty of said defendant Urology
  Associates, Inc. through its agents, servants, employees and partners, to exercise ordinary
  care in the diagnosis, treatment, and care of Mr. Curley.

          3.      Nevertheless, defendant Urology Associates, Inc. disregarded its duty as
  aforesaid and, through its agents, servants, employees, and partners, failed to exercise said
  ordinary care in that the employees, agents, servants, and/or partners of defendant Urology
  Associates, Inc. failed to properly diagnose and failed to render adequate, proper and
  necessary treatment to Mr. Curley and were otherwise negligent in their diagnosis, treatment,
  and care of him.

           4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          5.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Urology Associates, Inc. in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.




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                                        COUNT IV
                                    CORPORATE LIABILITY
                                  UROLOGY ASSOCIATES, INC.

         1.      Plaintiffs hereby incorporate Count III as if fully set forth herein.

          2.      It then and there became and was the duty of defendant Urology Associates,
  Inc. to provide quality medical care to Mr. Curley to exercise the care in granting credentials
  and privileges to those providing care and treatment at Urology Associates, Inc., to protect
  his safety, to protect him from incompetent and/or negligent treatment, and to otherwise
  exercise reasonable care for his protection and well-being.

          3.       Nevertheless, defendant Urology Associates, Inc. negligently disregarded its
  duty as aforesaid in that it failed to promulgate and enforce policies and procedures to insure
  the delivery of ordinary medical group care and otherwise failed to discharge its
  responsibilities as a medical group to Mr. Curley.

           4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          5.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Urology Associates, Inc. in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.

                                         COUNT V
                                    VICARIOUS LIABILITY
                                  UROLOGY ASSOCIATES, INC.

          1.     Counts III and IV are hereby incorporated by reference as if fully set forth at
  length herein.

          2.     At all material times, defendant Richard T. Zuerner, M.D. was an employee,
  agent, apparent agent, and/or servant of defendant Urology Associates, Inc. and was acting
  within the scope of his employment or agency.



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          3.      At all relevant times, defendant Urology Associates, Inc. was vicariously
  responsible for the acts and conduct of its employees, agents, apparent agents, and servants,
  including, but not limited to, the negligent acts or conduct of defendant Richard T. Zuerner,
  M.D., as set forth.

           4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          5.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Urology Associates, Inc. in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.

                                          COUNT VI
                                         NEGLIGENCE
                                      AARON W. WAY, D.O.

            1.    Plaintiffs hereby incorporate Paragraphs 1 through 10 as if fully set forth
  herein.

         2.      On or about July 31, 2008 and thereafter, defendant Aaron W. Way, D.O.
  undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

          3.       It then and there became and was the duty of defendant Aaron W. Way,
  D.O. to exercise that degree of diligence and skill required of the average physician engaged
  in the practice of urology.

          4.     Nevertheless, defendant Aaron W. Way, D.O. disregarded his duty as
  aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
  diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
  was otherwise negligent in his diagnosis, treatment, and care of him.

          5.      As a direct and proximate result of defendant Aaron W. Way, D.O.’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual


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  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          6.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         7.      By reason of the foregoing, Catherine M. Curley has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

         WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Aaron W. Way, D.O. in an amount exceeding the jurisdictional
  minimum of this Court, exclusive of interest and costs, and whatever further relief this Court
  deems just.

                                         COUNT VII
                                LACK OF INFORMED CONSENT
                                   AARON W. WAY, D.O.

         1.      Plaintiffs hereby incorporate Count VI as if fully set forth herein.

          2.     It then and there became the duty of defendant Aaron W. Way, D.O., no
  emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment and
  care he proposed to administer to and perform upon him so that he could give his informed
  consent to such treatment. It also then and there became the duty of defendant Aaron W.
  Way, D.O. to obtain Mr. Curley’s informed consent before proceeding with said treatment
  and care.

          3.      Nevertheless, defendant Aaron W. Way, D.O. disregarded his duty as
  aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
  care in question and proceeded to perform said treatment and care without having obtained
  Mr. Curley’s informed consent.

          4.     If defendant Aaron W. Way, D.O. had informed Mr. Curley of the risks of
  harm attendant to the treatment and care in question, including, but not limited to, the risk
  that he might suffer those injuries from which he suffered as a direct performance of said
  treatment and care, Mr. Curley would have refused to consent to the performance of the
  treatment and care therein involved.

           5.      As a direct and proximate result of defendant Aaron W. Way, D.O.’s
  negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
  nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.




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          6.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         7.      By reason of the foregoing, Catherine M. Curley has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

         WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Aaron W. Way, D.O. in an amount exceeding the jurisdictional
  minimum of this Court, exclusive of interest and costs, and whatever further relief this Court
  deems just.

                                     COUNT VIII
                                     NEGLIGENCE
                           OSTEOPATHIC FAMILY MEDICINE, LLC

          1.   On or about July 31, 2008 and thereafter defendant Osteopathic Family
  Medicine, LLC undertook for a valuable consideration to diagnose treat and care for Mr.
  Curley.

         2.       It then and there became and was the duty of said defendant Osteopathic
  Family Medicine, LLC, through its agents, servants, employees and partners, to exercise
  ordinary care in the diagnosis, treatment and care of Mr. Curley.

          3.      Nevertheless, defendant Osteopathic Family Medicine, LLC disregarded its
  duty as aforesaid and, through its agents, servants, employees, and partners, failed to exercise
  said ordinary care in that the employees, agents, servants, and/or partners of defendant
  Osteopathic Family Medicine, LLC failed to properly diagnose and failed to render adequate,
  proper and necessary treatment to Mr. Curley and were otherwise negligent in their
  diagnosis, treatment, and care of him.

           4.      As a direct and proximate result of defendant Osteopathic Family Medicine,
  LLC’s negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves
  and nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          5.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.




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           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Osteopathic Family Medicine, LLC in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.

                                      COUNT IX
                                 CORPORATE LIABILITY
                           OSTEOPATHIC FAMILY MEDICINE, LLC

         1.      Plaintiffs hereby incorporate Count VIII as if fully set forth herein.

         2.      It then and there became and was the duty of defendant Osteopathic Family
  Medicine, LLC to provide quality medical care to Mr. Curley to exercise the care in granting
  credentials and privileges to those providing care and treatment at Osteopathic Family
  Medicine, LLC, to protect his safety, to protect him from incompetent and/or negligent
  treatment, and to otherwise exercise reasonable care for his protection and well-being.

          3.       Nevertheless, defendant Osteopathic Family Medicine, LLC negligently
  disregarded its duty as aforesaid in that it failed to promulgate and enforce policies and
  procedures to insure the delivery of ordinary medical group care and otherwise failed to
  discharge its responsibilities as a medical group to Mr. Curley.

           4.      As a direct and proximate result of defendant Osteopathic Family Medicine,
  LLC’s negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves
  and nervous system, has endured and will in the future endure extreme mental pain and
  suffering, emotional distress, has and will in the future be unable to perform his usual
  activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
  and has been otherwise permanently damaged.

          5.      By reason of the foregoing, plaintiffs have incurred and will in the future
  incur the need for and resulting expenses for medical and nursing treatment, medicines,
  hospitalization, therapy, and the like.

         6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
  continue to suffer the loss of services, companionship, society, and comfort of her husband,
  Leo M. Curley, Jr.

           WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
  judgment against defendant Osteopathic Family Medicine, LLC in an amount exceeding the
  jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
  relief this Court deems just.

                                       COUNT X
                                  VICARIOUS LIABILITY
                           OSTEOPATHIC FAMILY MEDICINE, LLC

          1.      Counts VIII through IX are hereby incorporated by reference as if fully set
  forth at length herein.


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           2.     At all material times, defendant Aaron W. Way, D.O. was an employee,
   agent, apparent agent, and/or servant of defendant Osteopathic Family Medicine, LLC and
   was acting within the scope of his employment or agency.

           3.      At all relevant times, defendant Osteopathic Family Medicine, LLC was
   vicariously responsible for the acts and conduct of its employees, agents, apparent agents,
   and servants, including, but not limited to, the negligent acts or conduct of defendant Aaron
   W. Way, D.O., as set forth.

            4.      As a direct and proximate result of defendant Osteopathic Family Medicine,
   LLC’s negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves
   and nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           5.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Osteopathic Family Medicine, LLC in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                          COUNT XI
                                        NEGLIGENCE
                                  JOHN/JANE DOE, M.D., ALIAS

             1.    Plaintiffs hereby incorporate Paragraphs 1 through 10 as if fully set forth
   herein.

          2.      During the relevant timeframe, defendant John/Jane Doe, M.D., Alias
   undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

          3.      It then and there became and was the duty of defendant John/Jane Doe,
   M.D., Alias to exercise that degree of diligence and skill required of the average physician
   engaged in the practice of urology.

           4.     Nevertheless, defendant John/Jane Doe, M.D., Alias disregarded his duty as
   aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
   diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
   was otherwise negligent in his diagnosis, treatment, and care of him.


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            5.      As a direct and proximate result of defendant John/Jane Doe, M.D., Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           6.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          7.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John/Jane Doe, M.D., Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                          COUNT XII
                                 LACK OF INFORMED CONSENT
                                 JOHN/JANE DOE, M.D., ALIAS

          1.      Plaintiffs hereby incorporate Count XI as if fully set forth herein.

            2.     It then and there became the duty of defendant John/Jane Doe, M.D., Alias,
   no emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment
   and care he proposed to administer to and perform upon him so that he could give his
   informed consent to such treatment. It also then and there became the duty of defendant
   John/Jane Doe, M.D., Alias to obtain Mr. Curley’s informed consent before proceeding with
   said treatment and care.

           3.      Nevertheless, defendant John/Jane Doe, M.D., Alias disregarded his duty as
   aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
   care in question and proceeded to perform said treatment and care without having obtained
   Mr. Curley’s informed consent.

            4.      If defendant John/Jane Doe, M.D., Alias had informed Mr. Curley of the
   risks of harm attendant to the treatment and care in question, including, but not limited to,
   the risk that he might suffer those injuries from which he suffered as a direct performance of
   said treatment and care, Mr. Curley would have refused to consent to the performance of the
   treatment and care therein involved.

           5.      As a direct and proximate result of defendant John/Jane Doe, M.D., Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and


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   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           6.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          7.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John/Jane Doe, M.D., Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                        COUNT XIII
                                       NEGLIGENCE
                                JOHN DOE CORPORATION, ALIAS

          1.      During the relevant timeframe, defendant John Doe Corporation, Alias,
   undertook for valuable consideration to diagnose treat and care for Mr. Curley.

            2.     It then and there became and was the duty of said defendant John Doe
   Corporation, Alias, through its agents, servants, employees and partners, to exercise ordinary
   care in the diagnosis, treatment and care of Mr. Curley.

           3.      Nevertheless, defendant John Doe Corporation, Alias disregarded its duty as
   aforesaid and, through its agents, servants, employees, and partners, failed to exercise said
   ordinary care in that the employees, agents, servants, and/or partners of defendant John
   Doe Corporation, Alias failed to properly diagnose and failed to render adequate, proper and
   necessary treatment to Mr. Curley and were otherwise negligent in its diagnosis, treatment,
   and care of him.

            4.      As a direct and proximate result of defendant John Doe Corporation, Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           5.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.




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          6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John Doe Corporation, Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                        COUNT XIV
                                    CORPORATE LIABILITY
                                JOHN DOE CORPORATION, ALIAS

          1.      Plaintiffs hereby incorporate Counts XIII as if fully set forth herein.

           2.     It then and there became and was the duty of defendant John Doe
   Corporation, Alias to provide quality medical care to Mr. Curley to exercise the care in
   granting credentials and privileges to those providing care and treatment at John Doe
   Corporation, Alias, to protect his safety, to protect him from incompetent and/or negligent
   treatment, and to otherwise exercise reasonable care for his protection and well-being.

           3.       Nevertheless, defendant John Doe Corporation, Alias negligently disregarded
   its duty as aforesaid in that it failed to promulgate and enforce policies and procedures to
   insure the delivery of ordinary medical group care and otherwise failed to discharge its
   responsibilities as a medical group to Mr. Curley.

            4.      As a direct and proximate result of defendant John Doe Corporation, Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           5.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John Doe Corporation, Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
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                                        COUNT XV
                                    VICARIOUS LIABILITY
                                JOHN DOE CORPORATION, ALIAS

           1.      Counts XIII and XIV are hereby incorporated by reference as if fully set
   forth at length herein.

          2.      At all material times, defendant John/Jane Doe, M.D., Alias was an
   employee, agent, apparent agent, and/or servant of defendant John Doe Corporation, Alias
   and was acting within the scope of his/her employment or agency.

           3.      At all relevant times, defendant John Doe Corporation, Alias was vicariously
   responsible for the acts and conduct of its employees, agents, apparent agents, and servants,
   including, but not limited to, the negligent acts or conduct of defendant John/Jane Doe,
   M.D., Alias, as set forth.

            4.      As a direct and proximate result of defendant John Doe Corporation, Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           5.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          6.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
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                                       Plaintiffs
                                       By their attorneys:



                                       /s/ Miriam Weizenbaum______________
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   Dated: December 28, 2016

   PLAINTIFFS DEMAND A TRIAL BY JURY AND
   DESIGNATE MIRIAM WEIZENBAUM AS TRIAL COUNSEL




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